                                                                                                                                            Case 07-12416                            Doc 1          Filed 03/15/07                 Page 1 of 42
                                                                                                  (Official Form 1) (10/06)
                                                                                                                                          United States Bankruptcy Court                                                                               Voluntary Petition
                                                                                                                                       District of Maryland, Northern Division
                                                                                                   Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                    Drake, Gerald Leonard
                                                                                                   All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
                                                                                                   (include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
                                                                                                    None

                                                                                                   Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No. (if more                            Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No.
                                                                                                   than one, state all):                                                                                (if more than one, state all):
                                                                                                                            0617
                                                                                                   Street Address of Debtor (No. and Street, City, and State)                                           Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                    1001 N. Division St.
                                                                                                    Salisbury, MD                                                                                                                                                      ZIPCODE
                                                                                                                                                                               ZIPCODE
                                                                                                                                                                                  21801
                                                                                                   County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
                                                                                                    Wicomico
                                                                                                   Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                               ZIPCODE                                                                                 ZIPCODE

                                                                                                   Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                       ZIPCODE

                                                                                                                 Type of Debtor                                               Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                                              (Form of Organization)                               (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                                                 (Check one box)                                       Health Care Business                                     Chapter 7
                                                                                                                                                                                                                                                          Chapter 15 Petition for
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                                                                                                      Individual (includes Joint Debtors)                              Single Asset Real Estate as defined in
                                                                                                                                                                       11 U.S.C. § 101 (51B)                                    Chapter 9                 Recognition of a Foreign
                                                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                                                       Railroad                                                                           Main Proceeding
                                                                                                      Corporation (includes LLC and LLP)                                                                                        Chapter 11
                                                                                                      Partnership                                                      Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                                                 Chapter 12
                                                                                                      Other (if debtor is not one of the above entities,               Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                                                Chapter 13                Nonmain Proceeding
                                                                                                      check this box and state type of entity below)                   Clearing Bank
                                                                                                                                                                       Other                                                                     Nature of Debts
                                                                                                                                                                                                                                                  (Check one box)
                                                                                                                                                                                                                                Debts are primarily consumer
                                                                                                                                                                                  Tax-Exempt Entity                             debts, defined in 11 U.S.C.            Debts are primarily
                                                                                                                                                                                (Check box, if applicable)                      §101(8) as "incurred by an             business debts
                                                                                                                                                                          Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                                          under Title 26 of the United States                   personal, family, or household
                                                                                                                                                                          Code (the Internal Revenue Code)                      purpose."
                                                                                                                              Filing Fee (Check one box)                                                        Check one box:       Chapter 11 Debtors
                                                                                                       Full Filing Fee attached                                                                                    Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                   Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                       Filing Fee to be paid in installments (Applicable to individuals only) Must attach                       Check if:
                                                                                                       signed application for the court's consideration certifying that the debtor is unable                       Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                       to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                                  owed to insiders or affiliates) are less than $2 million
                                                                                                                                                                                                                Check all applicable boxes
                                                                                                      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                                    A plan is being filed with this petition.
                                                                                                      attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                      Acceptances of the plan were solicited prepetiion from one of
                                                                                                                                                                                                                      more classes, in accordance with 11 U.S.C. § 1126(b).

                                                                                                    Statistical/Administrative Information                                                                                                             THIS SPACE IS FOR COURT USE ONLY

                                                                                                      Debtor estimates that funds will be available for distribution to unsecured creditors.

                                                                                                      Debtor estimates that, after any exempt property is excluded and administrative
                                                                                                      expenses paid, there will be no funds available for distribution to unsecured creditors.

                                                                                                    Estimated Number of Creditors
                                                                                                     1-             50-      100-          200-            1000-         5,001-         10,001-       25,001-         50,001-        OVER
                                                                                                     49             99       199           999             5000          10,000         25,000        50,000          100,000        100,000



                                                                                                    Estimated Assets
                                                                                                           $0 to                       $10,000 to                          $100,000 to               $1 million to
                                                                                                          $10,000                       $100,000                            $1 million               $100 million            More than $100 million

                                                                                                    Estimated Liabilities
                                                                                                           $0 to                        $50,000 to                        $100,000 to                 $1 million to
                                                                                                                                                                                                                             More than $100 million
                                                                                                          $50,000                        $100,000                          $1 million                 $100 million
                                                                                                  Official Form 1 (10/06)                Case 07-12416                   Doc 1         Filed 03/15/07                  Page 2 of 42                                Form B1, Page 2
                                                                                                  Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                   (This page must be completed and filed in every case)                                        Gerald Leonard Drake
                                                                                                                        All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                   Location                                                                            Case Number:                                           Date Filed:
                                                                                                   Where Filed:          NONE

                                                                                                   Location                                                                             Case Number:                                          Date Filed:
                                                                                                   Where Filed:
                                                                                                                   N.A.
                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                   Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                                   District:                                                                            Relationship:                                          Judge:


                                                                                                                                  Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                    (To be completed if debtor is an individual
                                                                                                  (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                                  10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                  Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                          the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                  relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                          I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                                                          Bankruptcy Code.


                                                                                                           Exhibit A is attached and made a part of this petition.                        X       /s/ Stephen M. Hearne                                     03/06/2007
                                                                                                                                                                                                Signature of Attorney for Debtor(s)                              Date


                                                                                                                                                                               Exhibit C
                                                                                                  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
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                                                                                                           Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                           No

                                                                                                                                                                                 Exhibit D
                                                                                                    (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                               Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                   If this is a joint petition:
                                                                                                               Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                              Information Regarding the Debtor - Venue
                                                                                                                                                                          (Check any applicable box)
                                                                                                                           Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                           There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                           Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                           or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                           court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                     Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                           (Check all applicable boxes)
                                                                                                                           Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                           (Name of landlord or lessor that obtained judgment)


                                                                                                                                                                            (Address of landlord or lessor)
                                                                                                                           Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to
                                                                                                                           cure the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


                                                                                                                           Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                           period after the filing of the petition.
                                                                                                  Official Form 1 (10/06)                 Case 07-12416                Doc 1         Filed 03/15/07                  Page 3 of 42                                Form B1, Page 3
                                                                                                   Voluntary Petition                                                                    Name of Debtor(s):
                                                                                                   (This page must be completed and filed in every case)                                         Gerald Leonard Drake
                                                                                                                                                                                  Signatures
                                                                                                               Signature(s) of Debtor(s) (Individual/Joint)                                            Signature of a Foreign Representative of a
                                                                                                     I declare under penalty of perjury that the information provided in this petition                     Recognized Foreign Proceedings
                                                                                                     is true and correct.
                                                                                                     [If petitioner is an individual whose debts are primarily consumer debts and        I declare under penalty of perjury that the information provided in this petition
                                                                                                     has chosen to file under chapter 7] I am aware that I may proceed under             is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief     main proceeding, and that I am authorized to file this petition.
                                                                                                     available under each such chapter, and choose to proceed under chapter 7.
                                                                                                     [If no attorney represents me and no bankruptcy petition preparer signs the         (Check only one box.)
                                                                                                     petition] I have obtained and read the notice required by § 342(b) of the
                                                                                                     Bankruptcy Code.
                                                                                                                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
                                                                                                                                                                                                     Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                                                                                                                     attached.
                                                                                                     I request relief in accordance with the chapter of title 11, United States
                                                                                                     Code, specified in this petition.
                                                                                                                                                                                                     Pursuant to § 1511 of title 11United States Code, I request relief in accordance
                                                                                                                                                                                                     with the chapter of title 11 specified in this petition. A certified copy of the
                                                                                                                                                                                                     order granting recognition of the foreign main proceeding is attached.
                                                                                                     X /s/ Gerald Leonard Drake
                                                                                                         Signature of Debtor                                                                 X
                                                                                                                                                                                                 (Signature of Foreign Representative)
                                                                                                     X
                                                                                                         Signature of Joint Debtor

                                                                                                                                                                                                 (Printed Name of Foreign Representative)
                                                                                                          Telephone Number (If not represented by attorney)

                                                                                                          03/06/2007
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                                                                                                                                                                                                  (Date)
                                                                                                          Date


                                                                                                                          Signature of Attorney                                                     Signature of Non-Attorney Petition Preparer
                                                                                                                                                                                         I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                    X       /s/ Stephen M. Hearne                                                        as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                          Signature of Attorney for Debtor(s)                                            and have provided the debtor with a copy of this document and the notices
                                                                                                                                                                                         and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                         STEPHEN M. HEARNE 02295                                                         3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                         Printed Name of Attorney for Debtor(s)                                          setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                                                                                         document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                         Firm Name                                                                       required in that section. Official Form 19B is attached.
                                                                                                         105 West Main Street, 2nd Fl.
                                                                                                         Address
                                                                                                                                                                                         Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                         Salisbury, MD 21801-4904

                                                                                                         410-860-6606          smhearne@bigfoot.com                                       Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                                                                          state the Social Security number of the officer, principal, responsible person or
                                                                                                        Telephone Number                                  e-mail
                                                                                                                                                                                          partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                         03/06/2007
                                                                                                        Date
                                                                                                                                                                                          Address
                                                                                                            Signature of Debtor (Corporation/Partnership)
                                                                                                     I declare under penalty of perjury that the information provided in this petition
                                                                                                     is true and correct, and that I have been authorized to file this petition on       X
                                                                                                     behalf of the debtor.

                                                                                                     The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                     United States Code, specified in this petition.
                                                                                                                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                             person, or partner whose Social Security number is provided above.
                                                                                                    X
                                                                                                         Signature of Authorized Individual                                                  Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                             not an individual:
                                                                                                         Printed Name of Authorized Individual
                                                                                                                                                                                             If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                             conforming to the appropriate official form for each person.
                                                                                                         Title of Authorized Individual
                                                                                                                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                             and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                        Date                                                                                 imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                         Case 07-12416      Doc 1    Filed 03/15/07     Page 4 of 42


                                                                                                  Official Form 1, Exhibit D (10/06)

                                                                                                                                  UNITED STATES BANKRUPTCY COURT
                                                                                                                                    District of Maryland, Northern Division




                                                                                                        Gerald L. Drake
                                                                                                  In re______________________________________                          Case No._____________
                                                                                                                 Debtor(s)                                                   (if known)


                                                                                                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                          CREDIT COUNSELING REQUIREMENT

                                                                                                          Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                  filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                  you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                  required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                  collection activities.
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                                                                                                         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                  must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                  any documents as directed.

                                                                                                         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                  from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                  administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                  performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                  developed through the agency.

                                                                                                          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                  from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                  administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                  performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                  the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                  services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                  no later than 15 days after your bankruptcy case is filed.
                                                                                                                       Case 07-12416       Doc 1    Filed 03/15/07     Page 5 of 42


                                                                                                  Official Form 1, Exh. D (10/06) – Cont.

                                                                                                          3. I certify that I requested credit counseling services from an approved agency but was
                                                                                                  unable to obtain the services during the five days from the time I made my request, and the
                                                                                                  following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                  so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by
                                                                                                  the court.][Summarize exigent circumstances here.] _________________________________


                                                                                                          If the court is satisfied with the reasons stated in your motion, it will send you an
                                                                                                  order approving your request. You must still obtain the credit counseling briefing within
                                                                                                  the first 30 days after you file your bankruptcy case and promptly file a certificate from the
                                                                                                  agency that provided the briefing, together with a copy of any debt management plan
                                                                                                  developed through the agency. Any extension of the 30-day deadline can be granted only
                                                                                                  for cause and is limited to a maximum of 15 days. A motion for extension must be filed
                                                                                                  within the 30-day period. Failure to fulfill these requirements may result in dismissal of
                                                                                                  your case. If the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                  without first receiving a credit counseling briefing, your case may be dismissed.

                                                                                                         4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
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                                                                                                         illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                         decisions with respect to financial responsibilities.);
                                                                                                                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                         extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                         briefing in person, by telephone, or through the Internet.);
                                                                                                                 Active military duty in a military combat zone.

                                                                                                         5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                         I certify under penalty of perjury that the information provided above is true and
                                                                                                  correct.



                                                                                                  Signature of Debtor: /s/ Gerald Leonard Drake
                                                                                                                           GERALD LEONARD DRAKE

                                                                                                        03/06/2007
                                                                                                  Date: _________________




                                                                                                                                                      2
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         Accomack County Sheriffs Office
         23323 Wise Court
         Accomack Virginia 23301


         Blue Heron Medical Group
         560 Riverside Dr
         Salisbury MD 21801


         Capital Management Services
         726 Exchange Street Ste 700
         Buffalo NY 14210


         Citizens Auto Finance
         One Citizens Dr
         Riverside RI 02915-3000


         Discover Bank
         3311 Mill Meadow Dr
         Hilliard OH 43026


         ExxonMobil
         PO Box 981064
         El Paso TX 79998-1064


         Intellitech PFS
         Agent for Augliaze County
         PO Box 5099
         Poland OH 44514


         Joint Township Dist Mem Hospital
         200 St Clair
         St Marys OH 45885


         Lab Corp
         PO Box 2240
         Burlington NC 27216-2240


         MBNA America
         PO Box 15026
         Wilmington DE 19850-5026
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                                   UNITED STATES BANKRUPTCY COURT
                                    District of Maryland, Northern Division


 In re     Gerald L. Drake                              ,
                                         Debtor                     Case No.

                                                                    Chapter    7



                                   VERIFICATION OF LIST OF CREDITORS



          I hereby certify under penalty of perjury that the attached List of Creditors which consists of 1

 page, is true, correct and complete to the best of my knowledge.



             03/06/2007                                            /s/ Gerald Leonard Drake
 Date                                             Signature
                                                  of Debtor        GERALD LEONARD DRAKE




    Stephen M. Hearne
  105 West Main Street,
          2nd Fl.
Salisbury, MD 21801-4904
       410-860-6606
       410-749-6390
                                                                                                  Official Form 7
                                                                                                  (10/05)                                   Case 07-12416               Doc 1        Filed 03/15/07            Page 8 of 42
                                                                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                                                                                                             District of Maryland, Northern Division

                                                                                                  In Re      Gerald L. Drake                                                                                        Case No.
                                                                                                                                                                                                                                     (if known)


                                                                                                                                                                 STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                                This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                     the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                     information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                     filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                     provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. Do
                                                                                                                     not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                                                                               Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                     must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                                     additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                                     case number (if known), and the number of the question.


                                                                                                                                                                                 DEFINITIONS

                                                                                                                                "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                     individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                                     the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                     the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
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                                                                                                                     employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                     in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                                "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                     their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                                     percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                                     such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                               1.   Income from employment or operation of business

                                                                                                                               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation
                                                                                                                               ofthe debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                    None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                               the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                               of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                               spouses are separated and a joint petition is not filed.)

                                                                                                                                       AMOUNT                                                 SOURCE
                                                                                                                        2007                   0      unemployed

                                                                                                                        2006             29056        Atlantic Sign, Sherwin-Williams,
                                                                                                                                                      Gannett Co.
                                                                                                                        2005            22,815        Boggs Water & Sewer; Daily Times
                                                                                                                                                      Turner Sculpture; VT Griffin
                                                                                                                       Case 07-12416                Doc 1        Filed 03/15/07             Page 9 of 42




                                                                                                         2.   Income other than from employment or operation of business

                                                                                                  None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of
                                                                                                         the debtor's business during the two years immediately preceding the commencement of this case. Give particulars.
                                                                                                         If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter
                                                                                                         13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                         joint petition is not filed.)

                                                                                                          AMOUNT                                                              SOURCE




                                                                                                         3. Payments to creditors
                                                                                                  None

                                                                                                         Complete a. or b., as appropriate, and c.
                                                                                                         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                         goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                         this case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $600.
                                                                                                         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                         or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                         counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF CREDITOR                              DATES OF                            AMOUNT               AMOUNT STILL
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                                                                                                                                                            PAYMENTS                              PAID                  OWING




                                                                                                  None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                         within 90 days immediately preceding the commencement of the case if the aggregate value of all property that
                                                                                                         constitutes or is affected by such transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter
                                                                                                         13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless
                                                                                                         the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF CREDITOR                              DATES OF                            AMOUNT               AMOUNT STILL
                                                                                                   AND RELATIONSHIP TO DEBTOR                               PAYMENTS                              PAID                  OWING



                                                                                                  None

                                                                                                         c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                         for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                         and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF CREDITOR                              DATES OF                       AMOUNT PAID             AMOUNT STILL
                                                                                                   AND RELATIONSHIP TO DEBTOR                               PAYMENTS                                                  OWING
                                                                                                                       Case 07-12416                Doc 1         Filed 03/15/07            Page 10 of 42




                                                                                                          4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                  None    a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                          preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                          and a joint petition is not filed.)


                                                                                                   CAPTION OF SUIT                NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                  AND CASE NUMBER                                                            AGENCY AND LOCATION                          DISPOSITION


                                                                                                  None    b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                          one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                          13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                          unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND ADDRESS OF                                        DATE OF                                        DESCRIPTION AND
                                                                                                   PERSON FOR WHOSE BENEFIT                                     SEIZURE                                       VALUE OF PROPERTY
                                                                                                     PROPERTY WAS SEIZED


                                                                                                          5.   Repossessions, foreclosures and returns
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                                                                                                  None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
                                                                                                          of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                          both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                     ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                  CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                          6. Assignments and Receiverships

                                                                                                  None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                          the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                          assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                          joint petition is not filed.)


                                                                                                          NAME AND                                    DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                         ADDRESS OF                                                                                       ASSIGNMENT
                                                                                                           ASSIGNEE                                                                                      OR SETTLEMENT
                                                                                                                        Case 07-12416              Doc 1         Filed 03/15/07            Page 11 of 42




                                                                                                  None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                          year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                          the spouses are separated and a joint petition is not filed.)


                                                                                                          NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                         ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                         CUSTODIAN                               & NUMBER



                                                                                                          7.   Gifts

                                                                                                  None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case,
                                                                                                          except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                                                                                                          and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                                                                                                          chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                                                                                                          the spouses are separated and a joint petition is not filed.)


                                                                                                         NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                        ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                  PERSON OR ORGANIZATION
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                                                                                                          8.   Losses

                                                                                                  None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                                                                                                          of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                          include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                          joint petition is not filed.)


                                                                                                     DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                      AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                     OF PROPERTY                                   INSURANCE, GIVE PARTICULARS


                                                                                                          9.   Payments related to debt counseling or bankruptcy

                                                                                                  None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                                                                                                          consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                                                                                                          within one year immediately preceding the commencement of this case.


                                                                                                           NAME AND ADDRESS                          DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                               OF PAYEE                              NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                    OTHER THAN DEBTOR                                VALUE OF PROPERTY

                                                                                                  Stephen M. Hearne                           11/2006
                                                                                                  105 West Main Street, 2nd Fl.               Payor: $500
                                                                                                  Salisbury, MD 21801-4904
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                                                                                                            10. Other transfers

                                                                                                  None      a.      List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                            of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                            of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND ADDRESS OF TRANSFEREE,                                       DATE                              DESCRIBE PROPERTY
                                                                                                         RELATIONSHIP TO DEBTOR                                                                               TRANSFERRED AND
                                                                                                                                                                                                               VALUE RECEIVED


                                                                                                            b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                            to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                  None

                                                                                                         NAME OF TRUST OR OTHER DEVICE                                 DATE(S) OF                       AMOUNT OF MONEY OR
                                                                                                                                                                      TRANSFER(S)                         DESCRIPTION AND
                                                                                                                                                                                                       VALUE OF PROPERTY OR
                                                                                                                                                                                                    DEBTOR'S INTEREST IN PROPERTY


                                                                                                            11. Closed financial accounts
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                                                                                                  None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
                                                                                                            closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                            Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                            accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                            institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                            instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                            and a joint petition is not filed.)


                                                                                                           NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                           AMOUNT AND
                                                                                                          ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                            DATE OF SALE
                                                                                                          INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                            OR CLOSING


                                                                                                            12. Safe deposit boxes

                                                                                                  None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
                                                                                                            within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                            chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
                                                                                                            the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                       NAMES AND ADDRESSES OF                      DESCRIPTION OF               DATE OF
                                                                                                           ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                       CONTENTS                 TRANSFER OR
                                                                                                         OR OTHER DEPOSITORY                     OR DEPOSITORY                                                    SURRENDER, IF ANY

                                                                                                  BB&T Bank                                 Debtor                                        personal
                                                                                                  Salisbury, MD                                                                           papers
                                                                                                                         Case 07-12416              Doc 1        Filed 03/15/07            Page 13 of 42




                                                                                                           13. Setoffs

                                                                                                  None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                           information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                           and a joint petition is not filed.)


                                                                                                         NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                        OF                                      OF
                                                                                                                                                                      SETOFF                                  SETOFF

                                                                                                           14. Property held for another person

                                                                                                  None     List all property owned by another person that the debtor holds or controls.


                                                                                                             NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                          ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                           15. Prior address of debtor
                                                                                                  None
                                                                                                           If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                           premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
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                                                                                                           joint petition is filed, report also any separate address of either spouse.


                                                                                                          ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY


                                                                                                  South Wind Lane                          debtors                                              July 2005 - October 2006
                                                                                                  Atlantic, VA

                                                                                                  10365 Keller Pond Rd.                                                                         October 2004 - July 2005
                                                                                                  Keller, VA

                                                                                                  3145 Kraft Rd.                           Debtor's name                                        November 2003 - October 2004
                                                                                                  Fort Gratiot, MI


                                                                                                           16. Spouses and Former Spouses
                                                                                                  None
                                                                                                           If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                           eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                           any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                         NAME
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                                                                                                          17. Environmental Sites

                                                                                                          For the purpose of this question, the following definitions apply:

                                                                                                          "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                          releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                          other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                          wastes, or material.

                                                                                                                    "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                    presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                    "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                    hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                  None
                                                                                                          a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit
                                                                                                          that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental
                                                                                                          unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                          SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                         AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
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                                                                                                          Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                  None

                                                                                                          SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                         AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                          c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                                                                                                          respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
                                                                                                  None    party to the proceeding, and the docket number.


                                                                                                           NAME AND ADDRESS                               DOCKET NUMBER                               STATUS OR DISPOSITION
                                                                                                         OF GOVERNMENTAL UNIT


                                                                                                          18. Nature, location and name of business

                                                                                                  None    a.        If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                          businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                          managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                          which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                          preceding the commencement of this case.

                                                                                                          If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                          voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                          voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                   NAME                     TAXPAYER                   ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                                           I.D. NO. (EIN)                                                            ENDING DATES
                                                                                                                                           Case 07-12416                      Doc 1           Filed 03/15/07                 Page 15 of 42




                                                                                                                           b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                           U.S.C. § 101.
                                                                                                              None

                                                                                                                           NAME                                                                                                 ADDRESS




                                                                                                                                          [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                                     *    *     *    *    *     *


                                                                                                              [If completed by an individual or individual and spouse]

                                                                                                              I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                              thereto and that they are true and correct.
                                                                                                              03/06/2007                                                                                /s/ Gerald Leonard Drake
                                                                                                  Date                                                                        Signature
                                                                                                                                                                              of Debtor                 GERALD LEONARD DRAKE
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                                                                                                  -------------------------------------------------------------------------
                                                                                                                        CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                  compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                  have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                  in that section.




                                                                                                  Printed or Typed Name of Bankruptcy Petition Preparer                                                     Social Security No.
                                                                                                                                                                                                            (Required by 11 U.S.C. § 110(c).)



                                                                                                  Address
                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                                                  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                                                  X
                                                                                                  Signature of Bankruptcy Petition Preparer                                                                               Date
                                                                                                  -------------------------------------------------------------------------
                                                                                                  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both.
                                                                                                  11 U.S.C. § 110; 18 U.S.C. §156.

                                                                                                                                                                       0 continuation sheets attached
                                                                                                                                                                     _____


                                                                                                                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571
                                                                                                       Official Form 6 - Declaration (10/06)
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                                                                                                       In re       Gerald L. Drake                                                                                                                 Case No.
                                                                                                                                              Debtor                                                                                                                                  (If known)

                                                                                                                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                       16
                                                                                                               I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets (total shown on
                                                                                                       summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.



                                                                                                         Date 03/06/2007                                                                                                     Signature:         /s/ Gerald Leonard Drake
                                                                                                                                                                                                                                                                                Debtor:


                                                                                                         Date                                                                                                                Signature:                     Not Applicable
                                                                                                                                                                                                                                                                       (Joint Debtor, if any)

                                                                                                                                                                                                                                    [If joint case, both spouses must sign.]
                                                                                                    -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                  compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                  110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                  by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                  accepting any fee from the debtor, as required by that section.
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                                                                                                  Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                  of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                   If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                   who signs this document.




                                                                                                   Address

                                                                                                   X
                                                                                                                       Signature of Bankruptcy Petition Preparer                                                                                                       Date

                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this documen, unless the bankruptcy petition preparer is not an individualt:



                                                                                                  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                  18 U.S.C. § 156.
                                                                                        -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                        I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                  or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                  in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                  shown on summary page plus 2),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                  Date                                                                                                                Signature:


                                                                                                                                                                                                                                       [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                  [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                         Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                  Form B6A
                                                                                                  (10/05)                            Case 07-12416             Doc 1        Filed 03/15/07                     Page 17 of 42


                                                                                                  In re      Gerald L. Drake                                                                  Case No.
                                                                                                                            Debtor                                                                                                   (If known)

                                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                                                     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
                                                                                                  cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable
                                                                                                  for the debtor’s own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an “H,” “W,” “J,” or “C” in
                                                                                                  the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and
                                                                                                  Location of Property.”

                                                                                                    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                  Unexpired Leases.

                                                                                                      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                  claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                  Property Claimed as Exempt.




                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                              CURRENT VALUE
                                                                                                                                                                                                                                OF DEBTOR’S
                                                                                                                 DESCRIPTION AND LOCATION                           NATURE OF DEBTOR’S                                          INTEREST IN       AMOUNT OF
                                                                                                                        OF PROPERTY                                INTEREST IN PROPERTY                                     PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                              DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                              SECURED CLAIM
                                                                                                                                                                                                                               OR EXEMPTION
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                                                                                                          NONE




                                                                                                                                                                                             Total                                      0.00
                                                                                                                                                                                             (Report also on Summary of Schedules.)
                                                                                                  Form B6B
                                                                                                  (10/05)                                       Case 07-12416         Doc 1     Filed 03/15/07         Page 18 of 42


                                                                                                  In re      Gerald L. Drake                                                                    Case No.
                                                                                                                                    Debtor                                                                             (If known)

                                                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                  place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                  identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
                                                                                                  property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
                                                                                                  petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                  Unexpired Leases.

                                                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                  In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child.”




                                                                                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                     CURRENT VALUE OF




                                                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                                                     DEBTOR’S INTEREST
                                                                                                                                                           N                                                                                            IN PROPERTY,
                                                                                                               TYPE OF PROPERTY                            O               DESCRIPTION AND LOCATION                                                       WITHOUT
                                                                                                                                                           N                     OF PROPERTY                                                          DEDUCTING ANY
                                                                                                                                                           E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                                       OR EXEMPTION



                                                                                                    1. Cash on hand.                                       X
                                                                                                    2. Checking, savings or other financial accounts,          checking acct                                                                                  10.00
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                                                                                                    certificates of deposit, or shares in banks, savings
                                                                                                    and loan, thrift, building and loan, and homestead         BB&T Bank
                                                                                                    associations, or credit unions, brokerage houses,
                                                                                                    or cooperatives.


                                                                                                    3. Security deposits with public utilities,            X
                                                                                                    telephone companies, landlords, and others.

                                                                                                    4. Household goods and furnishings, including          X
                                                                                                    audio, video, and computer equipment.

                                                                                                    5. Books. Pictures and other art objects,              X
                                                                                                    antiques, stamp, coin, record, tape, compact disc,
                                                                                                    and other collections or collectibles.

                                                                                                    6. Wearing apparel.                                        misc. mens clothing                                                                            50.00
                                                                                                                                                               Debtor's possession

                                                                                                    7. Furs and jewelry.                                       2 rings                                                                                       100.00
                                                                                                                                                               Debtor's possession

                                                                                                    8. Firearms and sports, photographic, and other        X
                                                                                                    hobby equipment.

                                                                                                    9. Interests in insurance policies. Name                   Life Insurance                                                                              8,595.00
                                                                                                    insurance company of each policy and itemize
                                                                                                    surrender or refund value of each.                         Prudential Financial

                                                                                                    10. Annuities. Itemize and name each issuer.           X
                                                                                                  Form B6B-Cont.
                                                                                                  (10/05)                                          Case 07-12416        Doc 1     Filed 03/15/07   Page 19 of 42


                                                                                                  In re      Gerald L. Drake                                                                  Case No.
                                                                                                                                      Debtor                                                                 (If known)

                                                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                IN PROPERTY,
                                                                                                               TYPE OF PROPERTY                             O                DESCRIPTION AND LOCATION                                          WITHOUT
                                                                                                                                                            N                      OF PROPERTY                                             DEDUCTING ANY
                                                                                                                                                            E                                                                              SECURED CLAIM
                                                                                                                                                                                                                                            OR EXEMPTION


                                                                                                     11. Interests in an education IRA as defined in 26     X
                                                                                                     U.S.C. § 530(b)(1) or under a qualified State
                                                                                                     tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                     Give particulars. (File separately the record(s) of
                                                                                                     any such interest(s). 11 U.S.C. § 521(c); Rule
                                                                                                     1007(b)).

                                                                                                     12. Interests in IRA, ERISA, Keogh, or other               Pension                                                                        54,765.00
                                                                                                     pension or profit sharing plans. Give particulars.
                                                                                                                                                                County of St. Clair, MI

                                                                                                     13. Stock and interests in incorporated and            X
                                                                                                     unincorporated businesses. Itemize.
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                                                                                                     14. Interests in partnerships or joint ventures.       X
                                                                                                     Itemize.

                                                                                                     15. Government and corporate bonds and other           X
                                                                                                     negotiable and non-negotiable instruments.

                                                                                                     16. Accounts receivable.                               X
                                                                                                     17. Alimony, maintenance, support, and property        X
                                                                                                     settlement to which the debtor is or may be
                                                                                                     entitled. Give particulars.

                                                                                                     18. Other liquidated debts owing debtor including      X
                                                                                                     tax refunds. Give particulars.

                                                                                                     19. Equitable or future interests, life estates, and   X
                                                                                                     rights or powers exercisable for the benefit of the
                                                                                                     debtor other than those listed in Schedule A -
                                                                                                     Real Property.

                                                                                                     20. Contingent and noncontingent interests in          X
                                                                                                     estate or a decedent, death benefit plan, life
                                                                                                     insurance policy, or trust.

                                                                                                     21. Other contingent and unliquidated claims of        X
                                                                                                     every nature, including tax refunds, counterclaims
                                                                                                     of the debtor, and rights of setoff claims. Give
                                                                                                     estimated value of each.

                                                                                                     22. Patents, copyrights, and other intellectual        X
                                                                                                     property. Give particulars.

                                                                                                     23. Licenses, franchises, and other general            X
                                                                                                     intangibles. Give particulars.

                                                                                                     24. Customer lists or other compilations               X
                                                                                                     containing personally identifiable information (as
                                                                                                     defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                     debtor by individuals in connection with obtaining
                                                                                                     a product or service from the debtor primarily for
                                                                                                     personal, family, or household purposes.
                                                                                                  Form B6B-Cont.
                                                                                                  (10/05)                                       Case 07-12416     Doc 1    Filed 03/15/07          Page 20 of 42


                                                                                                  In re      Gerald L. Drake                                                               Case No.
                                                                                                                                     Debtor                                                                         (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                     CURRENT VALUE OF




                                                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                                                     DEBTOR’S INTEREST
                                                                                                                                                        N                                                                                               IN PROPERTY,
                                                                                                               TYPE OF PROPERTY                         O              DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                        N                    OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                        E                                                                                             SECURED CLAIM
                                                                                                                                                                                                                                                       OR EXEMPTION


                                                                                                     25. Automobiles, trucks, trailers, and other           2005 Hyundai Tucson                                                                           14,000.00
                                                                                                     vehicles and accessories.
                                                                                                                                                            Debtor's possession

                                                                                                     26. Boats, motors, and accessories.                X
                                                                                                     27. Aircraft and accessories.                      X
                                                                                                     28. Office equipment, furnishings, and supplies.   X
                                                                                                     29. Machinery, fixtures, equipment, and supplies   X
                                                                                                     used in business.

                                                                                                     30. Inventory.                                     X
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                                                                                                     31. Animals.                                       X
                                                                                                     32. Crops - growing or harvested. Give             X
                                                                                                     particulars.

                                                                                                     33. Farming equipment and implements.              X
                                                                                                     34. Farm supplies, chemicals, and feed.            X
                                                                                                     35. Other personal property of any kind not        X
                                                                                                     already listed. Itemize.




                                                                                                                                                                          0       continuation sheets attached        Total                          $    77,520.00
                                                                                                                                                                                  (Include amounts from any continuation
                                                                                                                                                                                    sheets attached. Report total also on
                                                                                                                                                                                          Summary of Schedules.)
                                                                                                  Offical Form B6C
                                                                                                  (10/05)                            Case 07-12416            Doc 1    Filed 03/15/07         Page 21 of 42


                                                                                                  In re     Gerald L. Drake                                                            Case No.
                                                                                                                            Debtor                                                                           (If known)

                                                                                                                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                     Debtor claims the exemptions to which debtor is entitled under:
                                                                                                     (Check one box)

                                                                                                          11 U.S.C. § 522(b)(2)                                        Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                       $125,000.
                                                                                                          11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                        CURRENT
                                                                                                                                                                  SPECIFY LAW                   VALUE OF           VALUE OF PROPERTY
                                                                                                              DESCRIPTION OF PROPERTY                           PROVIDING EACH                  CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                                   EXEMPTION                   EXEMPTION               EXEMPTION


                                                                                                     misc. mens clothing                              Md. C&J Proc. Code §                              50.00                        50.00
                                                                                                                                                      11-504(b)(4)

                                                                                                     2 rings                                          Md. C&J Proc. Code §                             100.00                       100.00
                                                                                                                                                      11-504(b)(4)

                                                                                                     checking acct                                    Md. C&J Proc. Code §                              10.00                        10.00
                                                                                                                                                      11-504(b)(5)
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                                                                                                     Pension                                          Md. C&J Proc. Code §                          54,765.00                 54,765.00
                                                                                                                                                      11-504(h)

                                                                                                     Life Insurance                                   Md. C&J Proc. Code §                           5,990.00                      8,595.00
                                                                                                                                                      11-504(b)(5)
                                                                                                                                                      Md. C&J Proc. Code §                           2,605.00
                                                                                                                                                      11-504(f)
                                                                                                                                  Case 07-12416                                       Doc 1    Filed 03/15/07       Page 22 of 42

                                                                                                  Official Form 6D (10/06)

                                                                                                           Gerald L. Drake
                                                                                                  In re _______________________________________________,                                                      Case No. _________________________________
                                                                                                                                 Debtor                                                                                                                           (If known)

                                                                                                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                             State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                  by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                  useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                  such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                              List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and
                                                                                                  do not disclose the child's name. See 11 U.S.C §112. If a "minor child" is stated, also include the name, address, and legal relationship to the
                                                                                                  minor child of a person described in Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet
                                                                                                  provided.
                                                                                                             If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                  include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                  husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                  "Husband, Wife, Joint, or Community."
                                                                                                             If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                  labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                  one of these three columns.)
                                                                                                             Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                  labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                  Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                  the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                            Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                              AMOUNT
                                                                                                                                                             HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                       DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                                                  CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                                                               ORCOMMUNITY




                                                                                                              CREDITOR’S NAME,
                                                                                                              MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                  CLAIM           UNSECURED
                                                                                                            INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                    WITHOUT           PORTION,
                                                                                                           AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                                                                                                                            SUBJECT TO LIEN                                                   VALUE OF
                                                                                                             (See instructions above.)
                                                                                                                                                                                                                                                            COLLATERAL


                                                                                                  ACCOUNT NO.                                                                       Lien: PMSI in vehicle < 910                                                                 5,000.00
                                                                                                  Citizens Auto Finance                                                             days
                                                                                                  One Citizens Dr.                                                                  Security: Hyundai Tucson
                                                                                                                                                                                                                                                              19,000.00
                                                                                                  Riverside, RI 02915-3000

                                                                                                                                                                                    VALUE $             14,000.00
                                                                                                  ACCOUNT NO.




                                                                                                                                                                                    VALUE $
                                                                                                  ACCOUNT NO.




                                                                                                                                                                                     VALUE $

                                                                                                     0
                                                                                                   _______continuation sheets attached                                                                              Subtotal     $                            19,000.00   $     5,000.00
                                                                                                                                                                                                            (Total of this page)
                                                                                                                                                                                                                        Total    $                            19,000.00   $     5,000.00
                                                                                                                                                                                                         (Use only on last page)
                                                                                                                                                                                                                                                 (Report total also on (If applicable, report
                                                                                                                                                                                                                                                 Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                       Summary of Certain
                                                                                                                                                                                                                                                                       Liabilities and Related
                                                                                                                                                                                                                                                                       Data.)
                                                                                                                                   Case 07-12416               Doc 1        Filed 03/15/07            Page 23 of 42
                                                                                                  Official Form 6E (10/06)


                                                                                                             Gerald L. Drake
                                                                                                     In re________________________________________________________________,                        Case No.______________________________
                                                                                                                             Debtor                                                                              (if known)

                                                                                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                    address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                    property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                    the type of priority.

                                                                                                           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                    the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child.” and do not disclose the child's name. See 11
                                                                                                    U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in
                                                                                                    Fed.R.Bankr.P. 1007(m).

                                                                                                            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                    entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                    both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                    Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                    in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                    more than one of these three columns.)

                                                                                                          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                    Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                              Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                    amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule Individual debtors with
                                                                                                    primarily consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                    Data.

                                                                                                             Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                    amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                    with primarily consumer debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                    Data.

                                                                                                        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                   TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                         Domestic Support Obligations

                                                                                                         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                  or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                  11 U.S.C. § 507(a)(1).


                                                                                                         Extensions of credit in an involuntary case

                                                                                                        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                  appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                         Wages, salaries, and commissions

                                                                                                           Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                   independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                         Contributions to employee benefit plans

                                                                                                              Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                      cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                                                                                   Case 07-12416             Doc 1        Filed 03/15/07           Page 24 of 42
                                                                                                  Official Form 6E (10/06) - Cont.


                                                                                                                Gerald L. Drake
                                                                                                        In re________________________________________________________________,                     Case No.______________________________
                                                                                                                                Debtor                                                                           (if known)




                                                                                                         Certain farmers and fishermen
                                                                                                      Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                         Deposits by individuals
                                                                                                     Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                                                   were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                         Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                      Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                         Commitments to Maintain the Capital of an Insured Depository Institution
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                                                                                                     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                   Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                   U.S.C. § 507 (a)(9).



                                                                                                         Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                      Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                   alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                   alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                   * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                   adjustment.




                                                                                                                                                            0 continuation sheets attached
                                                                                                                                                           ____
                                                                                                                                      Case 07-12416                                        Doc 1    Filed 03/15/07     Page 25 of 42
                                                                                                  Official Form 6F (10/06)

                                                                                                           Gerald L. Drake
                                                                                                   In re __________________________________________,                                                                Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                       (If known)

                                                                                                        SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                   against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                   useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do
                                                                                                   not disclose the child's name. See 11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child
                                                                                                   of a person described in Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
                                                                                                   sheet provided.
                                                                                                               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                   appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                   community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                             If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                   "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                            Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                   Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
                                                                                                   Summary of Certain Liabilities and Related Data.
                                                                                                            Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                    ORCOMMUNITY




                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                       CODEBTOR




                                                                                                                                                                                             DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                               DISPUTED
                                                                                                              CREDITOR’S NAME,                                                                                                                                                AMOUNT
                                                                                                               MAILING ADDRESS                                                                 CONSIDERATION FOR CLAIM.
                                                                                                                                                                                             IF CLAIM IS SUBJECT TO SETOFF,                                                     OF
                                                                                                             INCLUDING ZIP CODE,                                                                                                                                               CLAIM
                                                                                                            AND ACCOUNT NUMBER                                                                          SO STATE.
                                                                                                              (See instructions above.)
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                                                                                                  ACCOUNT NO.                                                                            Incurred: 2006-07
                                                                                                  Accomack County Sheriff's                                                              Consideration: jail fees
                                                                                                  Office                                                                                                                                                                             105.00
                                                                                                  23323 Wise Court
                                                                                                  Accomack, Virginia 23301


                                                                                                  ACCOUNT NO.                                                                            Consideration: Medical Services
                                                                                                  Blue Heron Medical Group
                                                                                                  560 Riverside Dr.                                                                                                                                                                    47.00
                                                                                                  Salisbury, MD 21801



                                                                                                  ACCOUNT NO.                                                                            Consideration: collection agency
                                                                                                  Capital Management Services
                                                                                                  726 Exchange Street, Ste 700                                                                                                                                                Notice Only
                                                                                                  Buffalo, NY 14210



                                                                                                  ACCOUNT NO.                                                                            Consideration: Credit card debt
                                                                                                  Discover Bank
                                                                                                  3311 Mill Meadow Dr.                                                                                                                                                              8,000.00
                                                                                                  Hilliard, OH 43026




                                                                                                        1
                                                                                                      _______continuation sheets attached                                                                                        Subtotal                                 $         8,152.00
                                                                                                                                                                                                                     Total                                                $
                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                  (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                        Summary of Certain Liabilities and Related Data.)
                                                                                                                                   Case 07-12416                                       Doc 1        Filed 03/15/07          Page 26 of 42
                                                                                                  Official Form 6F (10/06) - Cont.


                                                                                                            Gerald L. Drake
                                                                                                    In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                     Debtor                                                                                                                             (If known)


                                                                                                       SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                            (Continuation Sheet)




                                                                                                                                                             HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                               ORCOMMUNITY




                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                                  CODEBTOR
                                                                                                              CREDITOR’S NAME,
                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                         DISPUTED
                                                                                                              MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                            INCLUDING ZIP CODE,
                                                                                                                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                           AND ACCOUNT NUMBER
                                                                                                             (See instructions above.)


                                                                                                  ACCOUNT NO.                                                                        Consideration: Credit card
                                                                                                  Exxon/Mobil
                                                                                                  PO Box 981064                                                                                                                                                                            305.00
                                                                                                  El Paso, TX 79998-1064
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                                                                                                  ACCOUNT NO.                                                                        Consideration: Housing Fees
                                                                                                  Intellitech PFS
                                                                                                  Agent for Augliaze County                                                                                                                                                              12,000.00
                                                                                                  PO Box 5099
                                                                                                  Poland, OH 44514


                                                                                                  ACCOUNT NO.                                                                        Consideration: Medical Services
                                                                                                  Joint Township Dist. Mem.
                                                                                                  Hospital                                                                                                                                                                                2,776.00
                                                                                                  200 St. Clair
                                                                                                  St. Mary's, OH 45885


                                                                                                  ACCOUNT NO.                                                                        Consideration: Medical Services
                                                                                                  Lab Corp.
                                                                                                  P.O. Box 2240                                                                                                                                                                            156.00
                                                                                                  Burlington, NC 27216-2240



                                                                                                   ACCOUNT NO.                                                                       Consideration: Credit card debt
                                                                                                  MBNA America
                                                                                                  P.O. Box 15026                                                                                                                                                                         18,528.00
                                                                                                  Wilmington, DE 19850-5026



                                                                                                             1 of _____continuation
                                                                                                  Sheet no. _____    1                sheets attached                                                                                     Subtotal                                  $    33,765.00
                                                                                                  to Schedule of Creditors Holding Unsecured
                                                                                                  Nonpriority Claims                                                                                                                          Total                                 $    41,917.00
                                                                                                                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
Official Form B6G
(10/05)                                                                                                                          Case 07-12416               Doc 1        Filed 03/15/07            Page 27 of 42


                                  In re
                                                                                                  Gerald L. Drake                                                               Case No.
                                                                                                                     Debtor                                                                                 (if known)

                                                                                                    SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
                                                                                                     interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
                                                                                                     lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
                                                                                                     a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child.” and do not disclose the child’s
                                                                                                     name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).
                                                                                                   Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                               DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                    NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                      OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                   NUMBER OF ANY GOVERNMENT CONTRACT.
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Official Form B6H                                                                                                                     Case 07-12416              Doc 1        Filed 03/15/07           Page 28 of 42
(10/05)




        In re                                                                                          Gerald L. Drake                                                              Case No.
                                                                                                                          Debtor                                                                               (if known)


                                                                                                                                              SCHEDULE H - CODEBTORS
                                                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                  debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                  property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                  Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                  name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                  commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                  commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating “a minor child.” See 11 U.S.C. § 112;
                                                                                                  Fed. Bankr. P. 1007(m).

                                                                                                      Check this box if debtor has no codebtors.



                                                                                                                 NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR
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                                                                                                                                 Case 07-12416              Doc 1       Filed 03/15/07           Page 29 of 42
                                                                                                  Official Form 6I (10/06)


                                                                                                  In re
                                                                                                            Gerald L. Drake
                                                                                                                                                                                              Case
                                                                                                                       Debtor                                                                                    (if known)

                                                                                                                       SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                  The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                                  filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                                                    Debtor’s Marital                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                    Status:   Divorced             RELATIONSHIP(S): No dependents                                                    AGE(S):

                                                                                                    Employment:                             DEBTOR                                                                SPOUSE
                                                                                                    Occupation                       unemployed
                                                                                                    Name of Employer
                                                                                                   How long employed                 3 mos.
                                                                                                   Address of Employer                                                                                              N.A.


                                                                                                  INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                                  1. Current monthly gross wages, salary, and commissions
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                             $ _____________                  N.A.
                                                                                                                                                                                                                                    $ _____________
                                                                                                        (Prorate if not paid monthly.)
                                                                                                  2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                             $ _____________                  N.A.
                                                                                                                                                                                                                                    $ _____________

                                                                                                  3. SUBTOTAL                                                                                                          0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
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                                                                                                  4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          a. Payroll taxes and social security
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          b. Insurance
                                                                                                          c. Union Dues                                                                                               0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          d. Other (Specify:___________________________________________________________)                              0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                   0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                 0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  7. Regular income from operation of business or profession or farm                                                  0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     (Attach detailed statement)
                                                                                                  8. Income from real property                                                                                        0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  9. Interest and dividends                                                                                           0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                     debtor’s use or that of dependents listed above.
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  11. Social security or other government assistance
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     ( Specify)
                                                                                                  12. Pension or retirement income                                                                                    0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  13. Other monthly income                                                                                            0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                      (Specify)                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                      0.00           $ _____________
                                                                                                                                                                                                                                              N.A.
                                                                                                  15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                    0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                                    0.00
                                                                                                      from line 15; if there is only one debtor repeat total reported on line 15.)
                                                                                                                                                                                         (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                         on Statistical Summary of Certain Liabilities and Related Data)

                                                                                                  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                           None
                                                                                Official Form 6J (10/06)                               Case 07-12416              Doc 1       Filed 03/15/07            Page 30 of 42


                                                                                                  In re      Gerald L. Drake                                                                 Case No.
                                                                                                                            Debtor                                                                             (if known)


                                                                                                             SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                     filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate.

                                                                                                          Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                          labeled “Spouse.”


                                                                                                  1. Rent or home mortgage payment (include lot rented for mobile home)                                                                        425.00
                                                                                                                                                                                                                                       $ _____________
                                                                                                             a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                             b. Is property insurance included?                 Yes ________ No ________
                                                                                                  2. Utilities: a. Electricity and heating fuel                                                                                                  0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                                 b. Water and sewer                                                                                                              0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                                 c. Telephone                                                                                                                   50.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                                           ISP
                                                                                                                 d. Other ___________________________________________________________________                                                   40.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  3. Home maintenance (repairs and upkeep)                                                                                                       0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  4. Food                                                                                                                                      400.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  5. Clothing                                                                                                                                   50.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  6. Laundry and dry cleaning                                                                                                                   20.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  7. Medical and dental expenses                                                                                                                20.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  8. Transportation (not including car payments)                                                                                               200.00
                                                                                                                                                                                                                                       $ ______________
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                                                                                                  9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          100.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  10.Charitable contributions                                                                                                                    0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                             a. Homeowner’s or renter’s                                                                                                          0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                             b. Life                                                                                                                            24.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                             c. Health                                                                                                                         425.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                             d.Auto                                                                                                                            125.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                             e. Other                                                                                                                            0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                  (Specify)                                                                                                                                      0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                             a. Auto                                                                                                                           405.00
                                                                                                                                                                                                                                       $______________
                                                                                                             b. Other                                                                                                                            0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                             c. Other                                                                                                                            0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  14. Alimony, maintenance, and support paid to others                                                                                           0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  15. Payments for support of additional dependents not living at your home                                                                      0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                               0.00
                                                                                                                                                                                                                                       $ ______________
                                                                                                  17. Other                                                                                                                                      0.00
                                                                                                                                                                                                                                       $______________
                                                                                                  18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                             2,284.00
                                                                                                  if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                                  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                               None


                                                                                                  20. STATEMENT OF MONTHLY NET INCOME
                                                                                                          a. Average monthly income from Line 15 of Schedule I                                                                      $ ______________
                                                                                                                                                                                                                                              0.00
                                                                                                          b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                          2,284.00
                                                                                                          c. Monthly net income (a. minus b.)                                                                                       $ ______________
                                                                                                                                                                                                                                         -2,284.00
                                                                                                                            Case 07-12416         Doc 1     Filed 03/15/07      Page 31 of 42
                                                                                                  B 201 (04/09/06)

                                                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                                                                                     District of Maryland, Northern Division
                                                                                                           NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                         OF THE BANKRUPTCY CODE
                                                                                                                    In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the
                                                                                                           services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                                                           costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about
                                                                                                           bankruptcy crimes and notifies you that the Attorney General may examine all information you supply
                                                                                                           in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
                                                                                                           easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and
                                                                                                           responsibilities should you decide to file a petition. Court employees cannot give you legal advice.
                                                                                                  1. Services Available from Credit Counseling Agencies
                                                                                                          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                                                  bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                                                  credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                                                  days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings
                                                                                                  conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency
                                                                                                  approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you
                                                                                                  may consult of the approved budget and credit counseling agencies.

                                                                                                          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
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                                                                                                  management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                                                  financial management instructional courses.
                                                                                                  2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                                                           Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                                                           1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
                                                                                                  debts. Debtors whose debts are primarily consumer debts are subject to a means test designed to determine whether
                                                                                                  the case should be permitted to proceed under chapter 7. If your income is greater than the median income for your
                                                                                                  state of residence and family size, in some cases, creditors have the right to file a motion requesting that the court
                                                                                                  dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
                                                                                                           2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
                                                                                                  have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
                                                                                                  your creditors.
                                                                                                           3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
                                                                                                  found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                                                                                                  discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                                                           4. Even if you receive a general discharge, some particular debts are not discharged under the law.
                                                                                                  Therefore, you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable
                                                                                                  taxes; domestic support and property settlement obligations; most fines, penalties, forfeitures, and criminal
                                                                                                  restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death
                                                                                                  or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or
                                                                                                  drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a
                                                                                                  willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

                                                                                                          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                                                  $39 administrative fee: Total fee $274)
                                                                                                          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
                                                                                                  their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
                                                                                                  certain dollar amounts set forth in the Bankruptcy Code.
                                                                                                  B201                           Case 07-12416           Doc 1       Filed 03/15/07         Page 32 of 42                  Page 2

                                                                                                           2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that
                                                                                                  you owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
                                                                                                  five years, depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                                                           3. After completing the payments under your plan, your debts are generally discharged except for domestic
                                                                                                  support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
                                                                                                  which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and
                                                                                                  certain long term secured obligations.

                                                                                                          Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                                                          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                                                  provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                                                  an attorney.

                                                                                                          Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                                                          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                                                  future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                                                  income arises primarily from a family-owned farm or commercial fishing operation.


                                                                                                  3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                                                           A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                                                  perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                                                  information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
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                                                                                                  acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                                                  employees of the Department of Justice.

                                                                                                  WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                                                  your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                                                  dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                                                  Bankruptcy Rules, and the local rules of the court.



                                                                                                                                   Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                                                            I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
                                                                                                  this notice required by § 342(b) of the Bankruptcy Code.
                                                                                                  ________________________________________                                ___________________________________
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer         Social Security number (If the bankruptcy petition
                                                                                                  Address:                                                                preparer is not an individual, state the Social Security
                                                                                                  ________________________________________                                number of the officer, principal, responsible person, or partner of
                                                                                                                                                                          the bankruptcy petition preparer.) (Required
                                                                                                  X_______________________________________                                by 11 U.S.C. § 110.)
                                                                                                  Signature of Bankruptcy Petition Preparer or officer,
                                                                                                  principal, responsible person, or partner whose Social
                                                                                                  Security number is provided above.

                                                                                                                                                          Certificate of the Debtor
                                                                                                           I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                                                                                  Gerald Leonard Drake
                                                                                                  ______________________________________________                              /s/ Gerald Leonard Drake 03/06/2007
                                                                                                                                                                            X___________________________________
                                                                                                  Printed Name(s) of Debtor(s)                                              Signature of Debtor    Date

                                                                                                  Case No. (if known) ____________________                                  X___________________________________
                                                                                                                                                                            Signature of Joint Debtor (if any) Date
                                                                                                                Case 07-12416        Doc 1     Filed 03/15/07      Page 33 of 42




                                                                                                  FORM 6. SCHEDULES


                                                                                                  Summary of Schedules

                                                                                                  Schedule A - Real Property
                                                                                                  Schedule B - Personal Property
                                                                                                  Schedule C - Property Claimed as Exempt
                                                                                                  Schedule D - Creditors Holding Secured Claims
                                                                                                  Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                  Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                  Schedule G - Executory Contracts and Unexpired Leases
                                                                                                  Schedule H - Codebtors
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                                                                                                  Schedule I - Current Income of Individual Debtor(s)
                                                                                                  Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                  Unsworn Declaration under Penalty of Perjury


                                                                                                  GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                  amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                  identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                  the case number should be left blank

                                                                                                  Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                  claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                  A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                  which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                  the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                  transactions, each claim should be scheduled separately.

                                                                                                  Review the specific instructions for each schedule before completing the schedule.
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                                                                                                        Official Form 6 - Summary (10/06)




                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                  District of Maryland, Northern Division

                                                                                                       In re        Gerald L. Drake                                                                 Case No.
                                                                                                                                                        Debtor
                                                                                                                                                                                                    Chapter        7

                                                                                                                                                       SUMMARY OF SCHEDULES
                                                                                                  Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                  I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                  claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                  Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                             AMOUNTS SCHEDULED
                                                                                                                                                 ATTACHED
                                                                                                    NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                    A – Real Property
                                                                                                                                                 YES                     1            $           0.00
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                                                                                                    B – Personal Property
                                                                                                                                                 YES                     3            $    77,520.00

                                                                                                    C – Property Claimed
                                                                                                        as exempt                                YES                     1

                                                                                                    D – Creditors Holding
                                                                                                       Secured Claims                            YES                     1                                  $     19,000.00

                                                                                                    E - Creditors Holding Unsecured
                                                                                                        Priority Claims                          YES                     2                                  $           0.00
                                                                                                       (Total of Claims on Schedule E)
                                                                                                    F - Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                       YES                     2                                  $     41,917.00

                                                                                                    G - Executory Contracts and
                                                                                                        Unexpired Leases                         YES                     1

                                                                                                    H - Codebtors
                                                                                                                                                 YES                     1

                                                                                                    I - Current Income of
                                                                                                        Individual Debtor(s)                     YES                     1                                                        $          0.00

                                                                                                    J - Current Expenditures of Individual
                                                                                                        Debtors(s)                               YES                     1                                                        $    2,284.00


                                                                                                                                         TOTAL                           14           $    77,520.00        $     60,917.00
                                                                                                                           CaseSummary
                                                                                                    Official Form 6 - Statistical 07-12416
                                                                                                                                        (10/06)Doc 1                       Filed 03/15/07      Page 35 of 42
                                                                                                                                        United States Bankruptcy Court
                                                                                                                                                 District of Maryland, Northern Division

                                                                                                               In re       Gerald L. Drake                                                      Case No.
                                                                                                                                                         Debtor
                                                                                                                                                                                                Chapter      7

                                                                                                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                       If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                  §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                  information here.

                                                                                                  This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                  Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                     Type of Liability                                                         Amount

                                                                                                     Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                        0.00
                                                                                                     Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                     Schedule E) (whether disputed or undisputed)
                                                                                                                                                                                        0.00
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                                                                                                     Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                     Schedule E)                                                                        0.00
                                                                                                     Student Loan Obligations (from Schedule F)                                $        0.00
                                                                                                     Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                     Obligations Not Reported on Schedule E                                             0.00
                                                                                                     Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                               $        0.00
                                                                                                     (from Schedule F)

                                                                                                                                                                      TOTAL    $        0.00


                                                                                                    State the Following:
                                                                                                     Average Income (from Schedule I, Line 16)                                 $        0.00
                                                                                                     Average Expenses (from Schedule J, Line 18)                               $    2,284.00
                                                                                                     Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                     22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                    1,337.50



                                                                                                    State the Following:
                                                                                                     1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                     ANY” column
                                                                                                                                                                                                $     5,000.00

                                                                                                     2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                     PRIORITY” column.                                                                  0.00

                                                                                                     3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                          $
                                                                                                     PRIORITY, IF ANY” column                                                                              0.00

                                                                                                     4. Total from Schedule F                                                                   $   41,917.00
                                                                                                     5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                               $   46,917.00
                                                                                                                         Case 07-12416
                                                                                                  Form B22A (Chapter 7) (10/06)                          Doc 1     Filed 03/15/07         Page 36 of 42
                                                                                                                                                                    According to the calculations required by this statement:

                                                                                                  In re   Gerald L. Drake                                                        The presumption arises.
                                                                                                                            Debtor(s)                                            The presumption does not arise.
                                                                                                  Case Number:                                                      (Check the box as directed in Parts I, III, and VI of this statement.)
                                                                                                                           (If known)

                                                                                                                         CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                                   AND MEANS-TEST CALCULATION
                                                                                                   In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly,
                                                                                                   whose debts are primarily consumer debts. Joint debtors may complete one statement only.

                                                                                                                                        Part I. EXCLUSION FOR DISABLED VETERANS
                                                                                                           If you are a disabled veteran described in the Veteran s Declaration in this Part I, (1) check the box at the beginning of the
                                                                                                           Veteran s Declaration, (2) check the box for The presumption does not arise at the top of this statement, and (3) complete
                                                                                                           the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                     1
                                                                                                               Veteran s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
                                                                                                           defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
                                                                                                           defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).



                                                                                                            Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                                                           Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                           a.        Unmarried. Complete only Column A ( Debtor s Income ) for Lines 3-11.

                                                                                                           b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
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                                                                                                           penalty of perjury: My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
                                                                                                           living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.
                                                                                                           Complete only Column A ( Debtor s Income ) for Lines 3-11.

                                                                                                     2     c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                           Column A ( Debtor s Income ) and Column B (Spouse s Income) for Lines 3-11.

                                                                                                           d.     Married, filing jointly. Complete both Column A ( Debtor s Income ) and Column B (Spouse s Income) for
                                                                                                           Lines 3-11.

                                                                                                           All figures must reflect average monthly income received from all sources, derived during the        Column A        Column B
                                                                                                           six calendar months prior to filing the bankruptcy case, ending on the last day of the month         Debtor s        Spouse s
                                                                                                           before the filing. If the amount of monthly income varied during the six months, you must             Income          Income
                                                                                                           divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                     3     Gross wages, salary, tips, bonuses, overtime, commissions.                                           1,337.50            N.A.
                                                                                                                                                                                                            $               $
                                                                                                           Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                           Line a and enter the difference in the appropriate column(s) of Line 4. Do not enter a
                                                                                                           number less than zero. Do not include any part of the business expenses entered on
                                                                                                           Line b as a deduction in Part V.
                                                                                                     4                                                                                         0.00
                                                                                                                a.     Gross receipts                                   $

                                                                                                                b.     Ordinary and necessary business expenses         $                      0.00
                                                                                                                c.     Business income                                  Subtract Line b from Line a                 0.00            N.A.
                                                                                                                                                                                                            $               $
                                                                                                          Rent and other real property income. Subtract Line b from Line a and enter the difference
                                                                                                          in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
                                                                                                          any part of the operating expenses entered on Line b as a deduction in Part V.

                                                                                                            a.         Gross receipts                                   $                      0.00
                                                                                                    5
                                                                                                            b.         Ordinary and necessary operating expenses        $                      0.00
                                                                                                            c.         Rent and other real property income              Subtract Line b from Line a         $       0.00   $        N.A.
                                                                                                     6     Interest, dividends and royalties.                                                               $       0.00    $       N.A.

                                                                                                     7     Pension and retirement income.                                                                   $       0.00    $       N.A.

                                                                                                           Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                     8     expenses of the debtor or the debtor s dependents, including child or spousal
                                                                                                           support. Do not include amounts paid by the debtor s spouse if Column B is completed. $
                                                                                                                                                                                                                    0.00    $
                                                                                                                                                                                                                                    N.A.
                                                                                                                         Case
                                                                                                  Official Form 22A (Chapter 7)07-12416  Doc 1
                                                                                                                                (10/06) Cont.                    Filed 03/15/07          Page 37 of 42                               2

                                                                                                          Unemployment compensation. Enter the amount in in the appropriate column(s) of Line
                                                                                                          9. However, if you contend that unemployment compensation received by you or your
                                                                                                          spouse was a benefit under the Social Security Act, do not list the amount of such
                                                                                                    9     compensation in Column A or B, but instead state the amount in the space below:

                                                                                                            Unemployment compensation claimed to
                                                                                                            be a benefit under the Social Security Act     Debtor $      0.00     Spouse $     N.A.       $         0.00 $        N.A.
                                                                                                         Income from all other sources. If necessary, list additional sources on a separate page.
                                                                                                         Do not include any benefits received under the Social Security Act or payments received as
                                                                                                         a victim of a war crime, crime against humanity, or as a victim of international or domestic
                                                                                                         terrorism. Specify source and amount.
                                                                                                   10
                                                                                                            a.                                                                       $         0.00
                                                                                                            b.                                                                       $         0.00
                                                                                                            Total and enter on Line 10                                                                    $         0.00 $        N.A.
                                                                                                         Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
                                                                                                   11    Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
                                                                                                         total(s).                                                                                        $   1,337.50 $          N.A.
                                                                                                         Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                                   12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                         completed, enter the amount from Line 11, Column A.                                              $                   1,337.50



                                                                                                                              Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                                   13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the
                                                                                                         number 12 and enter the result.                                                                              $      16,050.00
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                                                                                                         Applicable median family income. Enter the median family income for the applicable state and
                                                                                                   14    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                                         the bankruptcy court.)
                                                                                                                                               Maryland                                                1
                                                                                                         a. Enter debtor s state of residence: _______________ b. Enter debtor s household size: __________                  48,929.00
                                                                                                                                                                                                                      $
                                                                                                         Application of Section 707(b)(7).       Check the applicable box and proceed as directed.

                                                                                                                 The amount on Line 13 is less than or equal to the amount on Line 14. Check the The presumption does
                                                                                                   15            not arise box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI and
                                                                                                                 VII.
                                                                                                                 The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this
                                                                                                                 statement.

                                                                                                                 Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                                            Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                                                   16    Enter the amount from Line 12.                                                                               $           N.A.
                                                                                                         Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line
                                                                                                   17    11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                                                         debtor s dependents. If you did not check box at Line 2.c, enter zero.                                       $           N.A.
                                                                                                   18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              N.A.
                                                                                                                                                                                                                      $



                                                                                                                 Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                                                                                                         Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                         National Standards: food, clothing, household supplies, personal care, and
                                                                                                   19    miscellaneous. Enter Total amount from IRS National Standards for Allowable Living Expenses for
                                                                                                         the applicable family size and income level. (This information is available at www.usdoj.gov/ust/ or from
                                                                                                         the clerk of the bankruptcy court.)                                                                                      N.A.
                                                                                                         Local Standards: housing and utilities; non-mortgage expenses Enter amount of the IRS Housing
                                                                                                   20A   and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                                                         information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                               N.A.
                                                                                                                                                                                                                      $
                                                                                                                        Case7)07-12416
                                                                                                  Official Form 22A (Chapter   (10/06)               Doc 1
                                                                                                                                                    Cont.       Filed 03/15/07           Page 38 of 42                              3

                                                                                                        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the
                                                                                                        amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
                                                                                                        (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
                                                                                                        Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
                                                                                                        42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an amount less than
                                                                                                  20B   zero.
                                                                                                          a.     IRS Housing and Utilities Standards; mortgage/rental expense       $                       N.A.
                                                                                                                 Average Monthly Payment for any debts secured by your
                                                                                                          b.
                                                                                                                 home, if any, as stated in Line 42                                 $                       N.A.
                                                                                                          c.     Net mortgage/rental expense                                        Subtract Line b from Line a          $   N.A.
                                                                                                        Local Standards: housing and utilities; adjustment. If you contend that the process set out in
                                                                                                        Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
                                                                                                        Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
                                                                                                        state the basis for your contention in the space below:
                                                                                                   21



                                                                                                                                                                                                                         $   N.A.
                                                                                                        Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                                        You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                                        operating a vehicle and regardless of whether you use public transportation.
                                                                                                        Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                                   22   expenses are included as a contribution to your household expenses in Line 8.

                                                                                                            0     1    2 or more.
                                                                                                        Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
                                                                                                        the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
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                                                                                                        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                       $
                                                                                                                                                                                                                             N.A.
                                                                                                        Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
                                                                                                        of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
                                                                                                        expense for more than two vehicles.)
                                                                                                             1         2 or more.
                                                                                                         Enter, in Line a below, the amount from IRS Transportation Standards, Ownership Costs, First Car.
                                                                                                         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). Enter in Line b the total of the
                                                                                                         Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                                                   23    Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                                          a.      IRS Transportation Standards, Ownership Costs, First Car          $                       N.A.
                                                                                                                  Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                          b.
                                                                                                                  as stated in Line 42                                              $                       N.A.
                                                                                                          c.      Net ownership/lease expense for Vehicle 1                         Subtract Line b from Line a
                                                                                                                                                                                                                         $   N.A.
                                                                                                        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                        only if you checked the 2 or more Box in Line 23.
                                                                                                        Enter, in Line a below, the amount from IRS Transportation Standards, Ownership Costs, Second Car.
                                                                                                        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). Enter in Line b the total of
                                                                                                        that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
                                                                                                        from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                                   24
                                                                                                           a.      IRS Transportation Standards, Ownership Costs, Second Car         $                      N.A.
                                                                                                                   Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                           b.                                                                        $
                                                                                                                   as stated in Line 42                                                                     N.A.
                                                                                                                                                                                                                         $
                                                                                                           c.      Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a
                                                                                                                                                                                                                             N.A.
                                                                                                        Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                                                   25   for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self em-
                                                                                                                                                                                                                       $
                                                                                                        ployment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                N.A.
                                                                                                        Other Necessary Expenses: mandatory payroll deductions. Enter the total average
                                                                                                        monthly payroll deductions that are required for your employment, such as mandatory retirement
                                                                                                   26
                                                                                                        contributions, union dues, and uniform costs. Do not include discretionary amounts, such as non-
                                                                                                        mandatory 401(k) contributions.                                                                                  $   N.A.
                                                                                                                             Case 07-12416           Doc 1      Filed 03/15/07         Page 39 of 42
                                                                                                  Official Form 22A (Chapter 7) (10/06)             Cont.                                                                        4
                                                                                                        Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually
                                                                                                  27    pay for term life insurance for yourself. Do not include premiums on your dependents, for whole
                                                                                                                                                                                                                      $
                                                                                                        life or for any other form of insurance.                                                                          N.A.
                                                                                                        Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                                   28   you are required to pay pursuant to court order, such as spousal or child support payments. Do not
                                                                                                        include payments on past due support obligations included in Line 44.                                         $   N.A.
                                                                                                        Other Necessary Expenses: education for employment or for a physically or
                                                                                                        mentally challenged child. Enter the total monthly amount that you actually expend for education
                                                                                                   29   that is a condition of employment and for education that is required for a physically or mentally
                                                                                                        challenged dependent child for whom no public education providing similar services is available.              $   N.A.
                                                                                                        Other Necessary Expenses: childcare. Enter the average monthly amount that you actually
                                                                                                   30   expend on childcare such as baby-sitting, day care, nursery and preschool. Do not include other               $   N.A.
                                                                                                        educational payments.

                                                                                                        Other Necessary Expenses: health care. Enter the average monthly amount that you actually
                                                                                                   31   expend on health care expenses that are not reimbursed by insurance or paid by a health savings account.          N.A.
                                                                                                        Do not include payments for health insurance or health savings accounts listed in Line 34.               $

                                                                                                        Other Necessary Expenses: telecommunication services. Enter the average monthly
                                                                                                   32   amount that you actually pay for telecommunication services other than your basic home telephone
                                                                                                        service such as cell phones, pagers, call waiting, caller id, special long distance, or internet service to   $   N.A.
                                                                                                        the extent necessary for your health and welfare or that of your dependents. Do not include any
                                                                                                        amount previously deducted.
                                                                                                   33   Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                            $   N.A.

                                                                                                                        Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                                  Note: Do not include any expenses that you have listed in Lines 19-32.
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                                                                                                        Health Insurance, Disability Insurance and Health Savings Account Expenses. List and
                                                                                                        total the average monthly amounts that you actually that you actually pay for yourself, your spouse, or
                                                                                                        your dependents in the following categories.
                                                                                                            a.     Health Insurance                                                   $                      N.A.
                                                                                                   34
                                                                                                            b.     Disability Insurance                                               $                      N.A.
                                                                                                            c.     Health Savings Account                                             $                      N.A.
                                                                                                                                                                                      Total: Add Lines a, b and c     $   N.A.
                                                                                                        Continued contributions to the care of household or family members. Enter the actual
                                                                                                   35   monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                        elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                        unable to pay for such expenses.                                                                              $   N.A.
                                                                                                        Protection against family violence. Enter any average monthly expenses that you actually
                                                                                                   36   incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                                                                                                        other applicable federal law. The nature of these expenses is required to be kept confidential by the court. $    N.A.
                                                                                                        Home energy costs Enter the average monthly amount, in excess of the allowance specified by IRS
                                                                                                   37   Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                        provide your case trustee with documentation demonstrating that the additional amount
                                                                                                        claimed is reasonable and necessary.                                                                          $   N.A.
                                                                                                        Education expenses for dependent children less than 18. Enter the average monthly
                                                                                                        expenses that you actually incur, not to exceed $125 per child, in providing elementary and secondary
                                                                                                   38   education for your dependent children less than 18 years of age. You must provide your case trustee
                                                                                                        with documentation demonstrating that the amount claimed is reasonable and necessary and
                                                                                                        not already accounted for in the IRS Standards.                                                               $   N.A.
                                                                                                        Additional food and clothing expense. Enter the average monthly amount by which your food and
                                                                                                        clothing expenses exceed the combined allowances for food and apparel in the IRS National Standards, not
                                                                                                   39   to exceed five percent of those combined allowances. (This information is available at www.usdoj.gov/ust/
                                                                                                        or from the clerk of the bankruptcy court.) You must provide your case trustee with documentation
                                                                                                        demonstrating that the additional amount claimed is reasonable and necessary.                             $       N.A.
                                                                                                   40   Continued charitable contributions. Enter the amount that you will continue to contribute in
                                                                                                        the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170          $   N.A.
                                                                                                   41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40. $                     N.A.
                                                                                                                            Case 07-12416          Doc 1      Filed 03/15/07           Page 40 of 42
                                                                                                  Official Form 22A (Chapter 7) (10/06)           Cont.                                                                         5

                                                                                                                                        Subpart C: Deductions for Debt Payment

                                                                                                        Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                        property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                        Average Monthly Payment. The Average Monthly Payment is the total of all amounts contractually due to
                                                                                                        each Secured Creditor in the 60 months following the filing of the bankruptcy case, divided by 60.
                                                                                                        Mortgage debts should include payments of taxes and insurance required by the mortgage. If necessary,
                                                                                                        list additional entries on a separate page.

                                                                                                   42                Name of Creditor            Property Securing the Debt        Average Monthly Payment
                                                                                                          a.                                                                       $
                                                                                                          b.                                                                       $
                                                                                                          c.                                                                       $
                                                                                                                                                                                   Total: Add Lines a, b and c           N.A.
                                                                                                                                                                                                                     $

                                                                                                        Past due payments on secured claims. If any of the debts listed in Line 42 are secured by your
                                                                                                        primary residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                                        dependents, you may include in your deduction 1/60th of any amount (the cure amount ) that you must
                                                                                                        pay the creditor in addition to the payments listed in Line 42, in order to maintain possession of the
                                                                                                        property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                                        repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                                                        additional entries on a separate page.
                                                                                                   43                Name of Creditor             Property Securing the Debt           1/60th of the Cure Amount
                                                                                                          a.                                                                       $
                                                                                                          b.                                                                       $
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                                                                                                          c.                                                                       $
                                                                                                                                                                                       Total: Add Lines a, b and c   $   N.A.

                                                                                                   44   Payments on priority claims. Enter the total amount of all priority claims (including priority child
                                                                                                        support and alimony claims), divided by 60.                                                          $           N.A.
                                                                                                        account.
                                                                                                        Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
                                                                                                        the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                                                        administrative expense.

                                                                                                          a.      Projected average monthly Chapter 13 plan payment.                $                  N.A.
                                                                                                          b.      Current multiplier for your district as determined under
                                                                                                   45
                                                                                                                  schedules issued by the Executive Office for United States
                                                                                                                  Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                                  or from the clerk of the bankruptcy court.)                                          N.A.
                                                                                                          c.      Average monthly administrative expense of Chapter 13 case         Total: Multiply Lines a and b        N.A.
                                                                                                                                                                                                                     $
                                                                                                   46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                       N.A.
                                                                                                                                                                                                                     $

                                                                                                                           Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                                                   47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                  $
                                                                                                                                                                                                                         N.A.



                                                                                                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                                        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                           N.A.
                                                                                                   48                                                                                                                $

                                                                                                   49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                            $   N.A.

                                                                                                   50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the
                                                                                                        result.                                                                                                      $   N.A.

                                                                                                   51   60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
                                                                                                        number 60 and enter the result.                                                                                  N.A.
                                                                                                                                                                                                                     $
                                                                                                                        Case7)07-12416
                                                                                                  Official Form 22A (Chapter   (10/06)               Doc 1
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                                                                                                        Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                           The amount on Line 51 is less than $6,000. Check the box for The presumption does not arise at the top of
                                                                                                           page 1 of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

                                                                                                   52
                                                                                                           The amount set forth on Line 51 is more than $10,000. Check the Presumption arises box at the top of
                                                                                                           page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                           the remainder of Part VI.
                                                                                                           The amount on Line 51 is at least $6,000, but not more than $10,000. Complete the remainder of Part
                                                                                                           VI (Lines 53 through 55).
                                                                                                                                                                                                                                 N.A.
                                                                                                   53    Enter the amount of your total non-priority unsecured debt                                                       $

                                                                                                   54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter                               N.A.
                                                                                                        the result.                                                                                                       $
                                                                                                        Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                           The amount on Line 51 is less than the amount on Line 54. Check the box for The presumption does not
                                                                                                           arise at the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                                   55
                                                                                                           The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for The
                                                                                                           presumption arises at the top of page 1 of this statement, and complete the verification in Part VIII. You may also
                                                                                                           complete Part VII.


                                                                                                                                  Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                                        health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                                        income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                                        average monthly expense for each item. Total the expenses.


                                                                                                                                             Expense Description                                         Monthly Amount
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                                                                                                   56
                                                                                                           a.                                                                                        $
                                                                                                           b.                                                                                        $
                                                                                                           c.                                                                                        $
                                                                                                                                                                 Total: Add Lines a, b and c         $         N.A.




                                                                                                                                               Part VIII: VERIFICATION
                                                                                                        I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                        both debtors must sign.)

                                                                                                            Date: 03/06/2007                           Signature:         /s/ Gerald Leonard Drake
                                                                                                                                                                              (Debtor)
                                                                                                   57
                                                                                                            Date:                                      Signature:
                                                                                                                                                                            (Joint Debtor, if any)
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                                                                                                                                      Form 22 Continuation Sheet
                                                                                                  Income Month 1                                            Income Month 2

                                                                                                  Gross wages, salary, tips...           0.00        0.00   Gross wages, salary, tips...           0.00    0.00
                                                                                                  Income from business...                0.00        0.00   Income from business...                0.00    0.00
                                                                                                  Rents and real property income...      0.00        0.00   Rents and real property income...      0.00    0.00
                                                                                                  Interest, dividends...                 0.00        0.00   Interest, dividends...                 0.00    0.00
                                                                                                  Pension, retirement...                 0.00        0.00   Pension, retirement...                 0.00    0.00
                                                                                                  Contributions to HH Exp...             0.00        0.00   Contributions to HH Exp...             0.00    0.00
                                                                                                  Unemployment...                        0.00        0.00   Unemployment...                        0.00    0.00
                                                                                                  Other Income...                        0.00        0.00   Other Income...                        0.00    0.00



                                                                                                  Income Month 3                                            Income Month 4


                                                                                                  Gross wages, salary, tips...           0.00        0.00   Gross wages, salary, tips...        2,675.00   0.00
                                                                                                  Income from business...                0.00        0.00   Income from business...                0.00    0.00
                                                                                                  Rents and real property income...      0.00        0.00   Rents and real property income...      0.00    0.00
                                                                                                  Interest, dividends...                 0.00        0.00   Interest, dividends...                 0.00    0.00
                                                                                                  Pension, retirement...                 0.00        0.00   Pension, retirement...                 0.00    0.00
                                                                                                  Contributions to HH Exp...             0.00        0.00   Contributions to HH Exp...             0.00    0.00
                                                                                                  Unemployment...                        0.00        0.00   Unemployment...                        0.00    0.00
                                                                                                  Other Income...                        0.00        0.00   Other Income...                        0.00    0.00
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                                                                                                  Income Month 5                                            Income Month 6

                                                                                                  Gross wages, salary, tips...        2,675.00       0.00   Gross wages, salary, tips...        2,675.00   0.00
                                                                                                  Income from business...                0.00        0.00   Income from business...                0.00    0.00
                                                                                                  Rents and real property income...      0.00        0.00   Rents and real property income...      0.00    0.00
                                                                                                  Interest, dividends...                 0.00        0.00   Interest, dividends...                 0.00    0.00
                                                                                                  Pension, retirement...                 0.00        0.00   Pension, retirement...                 0.00    0.00
                                                                                                  Contributions to HH Exp...             0.00        0.00   Contributions to HH Exp...             0.00    0.00
                                                                                                  Unemployment...                        0.00        0.00   Unemployment...                        0.00    0.00
                                                                                                  Other Income...                        0.00        0.00   Other Income...                        0.00    0.00



                                                                                                                               Additional Items as Designated, if any




                                                                                                                                                 Remarks
